Case 1:13-cv-01945-WJM-SKC Document 316 Filed 10/29/18 USDC Colorado Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 13-cv-01945-WJM-KHR

   TYLER SANCHEZ,

          Plaintiff,

   v.

   DETECTIVE MIKE DUFFY,
   DETECTIVE HEATHER MYKES,
   BOARD OF COUNTY COMMISSIONERS OF DOUGLAS COUNTY, and
   DOUGLAS COUNTY SHERIFF'S OFFICE.

         Defendants.
   ______________________________________________________________________

               UNOPPOSED MOTION TO AMEND FINAL PRE-TRIAL ORDER
   ______________________________________________________________________

          Plaintiff Tyler Sanchez, by and through his counsel, the law firm of Benezra &

   Culver, P.C. moves this Court for an Order modifying the Final Pre-Trial Order as

   follows:

          1.      The Plaintiff moves this Court for an Order amending the Final PreTrial

   Order to add Dr. Richard Spiegle as a will-call fact witness in this case. Plaintiff's Final

   Pre-Trial Order List of Witnesses identified Dr. Richard Spiegle as a will-call expert

   witness, but inadvertently failed to also identify him as a will-call fact witness. See Final

   Pre-Trial Order [Doc 212-1]

          2.      Good cause exists to allow this amendment. Dr. Spiegle was listed as a

   Fed.R.Civ.P. 26(a)(1)(A)(i) fact witness in his September 18, 2013, Rule 26 (a)(1) Initial

   Disclosures, see Plaintiff’s Initial Disclosures, p. 3, attached as Exhibit A, and as a

   non-retained expert witness pursuant to Rule 26(a)(2)(C), see Plaintiff’s Expert
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Case 1:13-cv-01945-WJM-SKC Document 316 Filed 10/29/18 USDC Colorado Page 2 of 4




   Disclosures, p. 3, attached as Exhibit B. Defendants deposed Dr. Spiegle on February

   6, 2018. See Dr. Spiegle Deposition, attached as Exhibit C, p. 1.

           3.       Dr. Spiegle is both a fact and an expert witness. He had contact with

   Tyler Sanchez while he was incarcerated in November of 2009, and can testify as a fact

   witness as to observations he made during that contact. See F.R.E. 701. He can also

   testify as an expert witness with respect to his clinical observations and perceptions of

   Mr. Sanchez based on that contact. See F.R.E. 702. Although Plaintiff identified Dr.

   Spiegle as a will-call expert witness in his Final Pre-Trial Order, List of Witnesses,

   Plaintiff inadvertently failed to also list Dr. Spiegle as a fact witness.

           4.       A treating physician is allowed to testify as a non-expert lay witness if he

   or she testifies about observations based upon personal knowledge including the

   treatment of a patient. See Plaintiff’s Response in Opposition to Defendants’ Motion to

   Exclude Expert Testimony of Dr. Richard Spiegle, Doc 280, pp. 4-5. See Davoll v.

   Webb, 194 F.3d 1116, 1138 (10th Cir. 1989); Weese v. Schukman, 98 F.3d 542, 550

   (10th Cir. 1996) ("Any opinions offered by [a lay witness doctor] were based on his

   experience as a physician and were clearly helpful to an understanding of his decision-

   making process in this situation.").

           5.        After conferring, Defendants do not oppose the Plaintiff’s Motion to add

   Dr. Spiegle as a fact witness.1




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       Defendants have filed a FRE 702 Motion to Exclude Expert Testimony by Dr. Richard Spiegle and Plaintiff has
   filed a Response in Opposition to that Motion. This Motion does not purport to affect the Defendants’ Rule 702
   Motion. See ECF 295, 280
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Case 1:13-cv-01945-WJM-SKC Document 316 Filed 10/29/18 USDC Colorado Page 3 of 4




          5.     Plaintiff also moves to amend the Final Pretrial to reflect the fact that

   Defendants will call Dr. James Barrofio, as a fact, but not as an expert witness in this

   matter. Good cause exists to permit this amendment as well. Defendant failed to

   identify Dr Barrofio as an expert witness in their Fed.R.Civ.P. Rule 26(a)(2) disclosures

   in this matter. After conferring, Defendants have agreed to call Dr. Barrofio only as a

   fact witness but not to seek to qualify him as an expert witness.

          7.     CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a): The

   Parties have conferred and Defendants do not oppose this Motion.

          Respectfully submitted this 29th day of October, 2018.

                                              BENEZRA & CULVER, P.C.


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Case 1:13-cv-01945-WJM-SKC Document 316 Filed 10/29/18 USDC Colorado Page 4 of 4




                                     CERTIFICATE OF SERVICE

           I hereby certify that on the 29th day of October, 2018, I electronically served the foregoing with
   the clerk of the court using the ECF system as follows:

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                                                /s/ Carolyn Haddan
                                                ________________________________
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